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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
THE ESTATE OF ANDREA S.             )
PARHAMOVICH, et al.,                )
                                    )
                  Plaintiffs,       )
                                    )
            v.                      )           Case No. 17-cv-61 (KBJ/GMH)
                                    )
THE SYRIAN ARAB REPUBLIC,           )
et al.,                             )
                                    )
                  Defendants.       )
____________________________________)

                                                      ORDER

         Plaintiffs seek leave to file seventeen exhibits and their memorandum in support of the

motion for default judgment as to liability under seal, and to file redacted versions of those

documents on the public docket. ECF No. 36. 1 Plaintiffs also seek leave to file two additional

exhibits in support of their motion for default judgment as to liability under seal but do not propose

to file redacted versions of those two exhibits on the public docket because they are particularly

sensitive. Id. Last, Plaintiffs seek leave to submit one exhibit—autopsy photographs—to the

Court for in camera review. Id. Courts in the D.C. Circuit weigh six factors when considering

whether to grant a motion to seal:

         (1) the need for public access to the documents at issue; (2) the extent of previous
         public access to the documents; (3) the fact that someone has objected to disclosure,
         and the identity of that person; (4) the strength of any property and privacy interests
         asserted; (5) the possibility of prejudice to those opposing disclosure; and (6) the
         purposes for which the documents were introduced during the judicial proceedings.



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  Plaintiffs filed an earlier version of their motion to seal (ECF No. 31), which is identical to their subsequent motion
to seal (ECF No. 36). Because the motions to seal are identical and the Court grants Plaintiffs’ March 2021 motion
to seal, the Court will deny as moot Plaintiffs’ earlier motion to seal.
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United States v. Hubbard, 650 F.2d 293, 316 (D.C. Cir. 1980). The Court has reviewed Plaintiffs’

memorandum in support of its motion to file documents under seal, the documents that Plaintiffs

propose to file under seal, and has reviewed the proposed redactions. Based on that review, the

Court finds that the Plaintiffs’ privacy interests and the privacy interests of third-parties—

specifically, the privacy interests in Plaintiffs’ identifying information, mental health information,

and graphic details of Ms. Parhamovich’s death, as well as the privacy interests in identifying

information of third-party individuals and certain security protocols utilized by the individuals and

entities that Ms. Parhamovich worked with in Iraq—weigh strongly in favor of granting Plaintiffs’

motion. Conversely, there is little need for public access to the documents, no one has objected to

sealing the documents, and the purpose for which the documents were introduced—factual

background in support of the motion for default judgment as to liability2—do not weigh against

sealing the documents. Accordingly, it is hereby

         ORDERED that Plaintiffs’ motion to seal is GRANTED IN PART. The unredacted

documents submitted by Plaintiffs along with their motion to seal (ECF Nos. 36-1, 36-3, 36-5, 36-

7, 36-8, 36-10, 36-12, 36-13, 36-15, 36-17, 36-19, 36-21, 36-23, 36-25, 36-27, 36-29, 36-31, 36-

33, 36-35, 36-37) shall remain under seal. It is further,




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  Importantly, because the sixth Hubbard factor considers “the purpose for which the documents were introduced
during the judicial proceedings,” 650 F.2d at 316, the Court’s decision granting Plaintiffs’ motion to seal is limited to
the exhibits introduced as support for Plaintiffs’ motion for default judgment as to liability. See Minute Order dated
Sept. 17, 2020 (granting Plaintiffs’ request to bifurcate liability and damages briefing). A motion for default judgment
as to damages will require the Court to consider different issues and thus certain exhibits may become more important
to the Court’s legal analysis regarding damages, which may weigh in favor of unsealing those exhibits. See Hamen
v. Islamic Republic of Iran, 318 F. Supp. 3d 194, 198 (D.D.C. 2018) (noting that, under the sixth Hubbard factor,
“[t]he more relevant a pleading is to the central claims of the litigation, the stronger the presumption of unsealing the
pleading becomes” and considering whether the document to be sealed will “inform the Court’s decision”). So, to
the extent Plaintiffs intend to submit any of the same exhibits in support of their motion for default judgment as to
damages, Plaintiffs will need to file a second motion for leave to file those documents, and any others, under seal.



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           ORDERED that the Clerk’s Office shall unseal the following redacted exhibits: ECF Nos.

36-2, 36-4, 36-6, 36-9, 36-11, 36-14, 36-16, 36-18, 36-20, 36-22, 36-24, 36-26, 36-28, 36-30, 36-

32, 36-34, 36-36, and 36-38. It is further

           ORDERED that Plaintiffs’ request to submit autopsy photographs for in camera review is

DENIED AS MOOT because the Court did not consider review of the autopsy photographs

necessary to its determination regarding Plaintiffs’ motion for default judgment as to liability. It is

further,

           ORDERED that Plaintiffs’ earlier, identical motion to seal (ECF No. 31) is DENIED AS

MOOT.


                                                                        Digitally signed by G.
           SO ORDERED.                                                  Michael Harvey
                                                                        Date: 2021.06.23
Date: June 23, 2021                                    __________________________________
                                                                        12:00:51 -04'00'
                                                       G. MICHAEL HARVEY
                                                       UNITED STATES MAGISTRATE JUDGE




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